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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 325: ORDER
                                                    DENYING MONSANTO’S MOTION
   Moreland v. Monsanto Co.,                        TO EXCLUDE EXPERT KEVIN
   Case No. 3:20-cv-03069-VC                        KNOPF AND FOR SUMMARY
                                                    JUDGMENT
                                                    Re: Dkt. No. 20077


       Monsanto’s motion to exclude the specific causation opinions of Dr. Kevin Knopf is

denied. This ruling assumes the reader’s familiarity with the facts, the applicable legal standard,

the prior Daubert rulings in this MDL, and the arguments made by the parties. See generally In

re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order

No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D.

Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d

941 (9th Cir. 2021).

       Outside of its preservation arguments, Monsanto advances a single ground for exclusion:

that Knopf failed to reliably rule out the plaintiff’s potential exposure to pentachlorophenol

(PCP), which was spilled into a creek near where he lived in 1989. Monsanto has presented some

evidence that PCP exposure is associated with NHL. See IARC Monograph 117,

Pentachlorophenol and Some Related Compounds (Dkt. No. 20077-6) at 123. Knopf’s report

offers two explanations for ruling out the potential exposure: (1) the EPA has stated “there are no
unacceptable human pathways for 3 of the 4 sites” and the only exposure risk for the fourth site
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is eating fish from the site, which Moreland said he did not do; and (2) the NHL incidence rate

for that area is lower than for other counties, despite the contamination. Knopf Report (Dkt. No.

20077-2) at 34–35.

       It seems like this second explanation is not reliable—neither Knopf nor the plaintiff in his

opposition could satisfactorily show where the data supporting the lower NHL incidence rate

point could be found. See Knopf Dep. (Dkt. No. 20077-3) at 103:2–105:22. But it can’t be said

that Knopf failed to investigate the potential exposure, and he gave a shaky but admissible

explanation for how he ruled it out based on the EPA’s human pathways statements. His

testimony will not be excluded, and Monsanto can explore the weaknesses of that explanation

during cross examination.

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       As the plaintiff will be able to call Knopf to opine on specific causation, Monsanto’s

motion for summary is denied.



       IT IS SO ORDERED.

Dated: March 31, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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